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                    GENERAL LAWS
                                 OF TH1



              17WELI iPH LEGISLATURE,

                                 OF TIlE




          STATE OF TEXAS.

                     CALLE)          Ss0ION.
                                      H




                           BY   AUTHORITY.




                                AUSTIN:
                    IIJINTD 13Y TRACY, SIEMEING   & CO.
                                   1870.




                                                          20
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                                   GENERAL LAWS.


                               CHAPTER            XLVI.
              AN ACT REtULATING TIE        I01T TO REEP AND DEAR ARMS.

               SECTION 1. Be it enacted by the Legislature of the &tate of
            l'exas, That if any person shall go into ally church or religious
           as.eleibly, any school roomn or other place where persons are assem-
           bled for educational, literary or scientific purposes,
                                                                0 1or into a haIl
           room, social party or other social gathering composed of ladies and
           gentlemen, or to any clect;on precinct on the dlq 7 or days of any
           election, where any prtIon of the people of this Lstatc are col-
           lected to vote at any eleei "7, or to any other place where people
           may be assembled to inuster or to perform any other public daty, or
           any other public assembly, and shall have about his person a bowie-
           knitb, dirk or butcher-knifc, or fire-arms, whether known as a six
           shooter, gun or pistol of' any kind, such person so oflfinding shall Ihe
           deemed guilty of ai misdemeanor, and on conviction thereof shall Ie
           fined in a sun not less than fifty or more than five hundred dollars,
           at the discretion of tile court or jury trying the same; provided,
           that nothing contained in this section shall apply to locations Subject
           to Indian depredations ; and provided further, that this act shall not
           apply to any person or persons whose duty it is to bear arias oi such
           occasions in discharge of dutiLs imlpsed by law.
               Sic. 2. That this act take effct and be in force in sixty days
           from the pmssage thereof.
               Approved August 12, 1870.




                                C11APTER XLVII.
            AN ACT AUTHORIZING THE GOVERNOR T.) ORDER AN IiI CTION
              TO BE IEI,]) IN HILL CUNTY FOR TIE PERMANNT LOCATION
              OF TIIEIR COUNTY SEAT.

               SECTION 1. Be it enacted by the Leyislature of the State of
             Te.vas, That the Governor of the State of Texas be, and is hereby
            authorized to order an election to be held in the county of lill, on
            the second Monday in September, A. D. 1870, (or as soon thereaf-
            ter as possible), for the permanent location of the county seat of the
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                                     GENERAL         LAWS.
           county of Hill ; said election shall be hold tt such places and uuidr
           .such rules and regulations as the Governor may prescribc.
               SEc. 2. Thattlhe returns of said election shall be made to the See-
           ,etary of State, within twenty days after said election shall have
           been held, and the town receiviug two-thirds of the votes cast Shall
            be the permianent county seat of' the eounty of I lili, Nut shoild no
           place receive two4hirds of the votes cast, the present comity socat
           shall renain the permanent one.
              SEc. Sl. 'lhlat the Governor shall, within twenty days after the
           aeturns of' said electioL shall have hc) n received, notify the I'ol.ce
           Court of the county of lill of the r'esult of said election.
              Six. 4. That this act be in fbrce from and aftex passage.
              Approved August 12, 1.870.




                                V IIAPTER XLVIII

           ,AN     ACT MARINO APPROPRIATIONS FOR THE PAYMENT 'OP T112
                 EXPENSES OF MAINTAINING4 RANG(INU COMIPANIES ON THE FRON-
                 T1,141t.


               SWCTION" 1. Be it vjacded by the Legislotire of the ,S'ta/e of
             Te.as Tihat the suma of seven hund'ed and fifty thonand dollars,
           'or so much thereof as may lio necessary, be and the same is hereby
           4uppropriated, out of any moneys in the State Treasury (derived
            from the sale or hypothecation of the bonds of the State issued fbr
           frontier protection), for the purpose of paying all expenses con-
            liected with the orgai.ization, arming and maintenance of the ranging
           companies on the frontier, called into service under the provisions
            of the act approved June 18, 1870,
               SEc. 2. Thfat this appropriation shall be expended under tile
            direction of the Governor; and the Comptroller of Public Accounts
            shall, under the special direction of the Governor, audit all claims
            and accounts incurred fbr the purposes hereinbefore mentioned, and
            shiall draw his warrant on tie Treasurer for the payment of the
           aame.
                 SEc. 8. That thii. act shall take effect from and after its passage,
                 Approved August 12, 1870.
